                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF WISCONSIN

________________________________________________________________________

UNITED STATES OF AMERICA,

                       Plaintiff,

       v.                                                    Case No. 06-CR-100

MARIO GARCIA,

                 Defendant.
________________________________________________________________________

    DECISION AND ORDER ADOPTING RECOMMENDATION OF MAGISTRATE JUDGE
                    WILLIAM E. CALLAHAN, JR. (DOC. # 65)

               On August 15, 2006, Magistrate Judge William E. Callahan, Jr. issued a

recommendation that this court grant defendant’s motions to suppress physical evidence and

statements, and the United States did not object to this recommendation in accordance with 28

U.S.C. §636(b)(1)(A) and General Local Rule 72.3. The district court reviews magistrate judge’s

recommendations to which there have been no objections using a clear error or contrary to law

standard. See Thomas v. Arn, 474 U.S. 140 (1985); Johnson v. Zema Sys. Corp., 170 F.3d 734,

739 (7th Cir. 1999). The clear error standard means that the court will overturn the magistrate

judge’s ruling only if it is “left with the definite and firm conviction that a mistake has been made.”

Weeks v. Samsung Heavy Indus. Co., 126 F.3d 926, 943 (7th Cir. 1997). Because Judge

Callahan’s recommendation is not clearly erroneous and is supported by the record,

               IT IS ORDERED that the August 15, 2006, recommendation of Magistrate Judge

William E. Callahan, Jr. is adopted.

               Dated at Milwaukee, Wisconsin, this 17th day of November, 2006.

                                                             BY THE COURT

                                                             s/ C. N. CLEVERT, JR.

                                                             C. N. CLEVERT, JR.
                                                             U. S. District Judge



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